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 1                               UNITED STATES DISTRICT COURT
 2                                  DISTRICT OF PUERTO RICO

 3   CARLOS D. CRUZ-RODRÍGUEZ,

 4          Petitioner,
                                                         Civil No. 10-1455 (JAF)

 5          v.                                           (Crim. No. 03-081)

 6   UNITED STATES OF AMERICA,

 7          Respondent.




 8                                              ORDER

 9          On June 22, 2011, we held an evidentiary hearing on the facts underlying Petitioner’s

10   28 U.S.C. § 2255 claim that his counsel failed to adequately advise him as to available plea

11   offers. (See generally Docket No. 18 at 2, 7.) We heard testimony from both Petitioner’s trial

12   counsel and Petitioner regarding their discussions of plea offers prior to Petitioner’s trial. (See

13   Docket No. 31 (hearing transcript).) Based on our observation of that testimony, we find

14   credible counsel’s testimony that he fully advised Petitioner as to the government’s offers and

15   that he actively pursued a plea agreement during communications both to the government and

16   his client. We find incredible Petitioner’s claim that counsel failed to communicate and explain

17   the available plea offers. We therefore find that Petitioner’s counsel was not deficient in

18   advising Petitioner as to his potential plea. Based on this conclusion, we DENY § 2255 relief

19   grounded in this alleged ineffective assistance of counsel (Docket No. 3 at 10).
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 1         Further, we NOTE Petitioner’s post hearing brief (Docket No. 29) and, given the instant

 2   denial, DENY AS MOOT Respondent’s motion to strike said brief (Docket No. 30).

 3         We previously denied all other grounds Petitioner raised for § 2255 relief. (See Docket

 4   No. 18.) In accordance with Rule 11 of the Rules Governing § 2255 Proceedings, whenever

 5   we deny § 2255 relief, we must concurrently determine whether to issue a certificate of

 6   appealability (“COA”). We grant a COA only upon “a substantial showing of the denial of a

 7   constitutional right.” 28 U.S.C. § 2253(c)(2). To make this showing, “[t]he petitioner must

 8   demonstrate that reasonable jurists would find the district court's assessment of the

 9   constitutional claims debatable or wrong.” Miller-El v. Cockrell, 537 U.S. 322, 338 (2003)

10   (quoting Slack v. McDaniel, 529 U.S. 473, 484 (2000)). We see no way in which a reasonable

11   jurist could find our assessment of Petitioner’s constitutional claims debatable or wrong.

12   Petitioner may request a COA directly from the First Circuit, pursuant to Rule of Appellate

13   Procedure 22.

14         IT IS SO ORDERED.

15         San Juan, Puerto Rico, this 19th day of July, 2011.



16                                                   s/José Antonio Fusté
17                                                   JOSE ANTONIO FUSTE
18                                                   U.S. District Judge
